            Case 1:19-cv-01903-RA-KHP Document 51 Filed 12/30/20 Page 1 of 1


                                                                    USDC-SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
                                                                    DOC#:
 STEVEN NACHSHEN,                                                   DATE FILED:

                              Plaintiff,
                                                                      19-CV-1903 (RA)
                         v.
                                                                            ORDER
 53-55 WEST 21ST OWNER LLC, et al.,

                              Defendants.



RONNIE ABRAMS, United States District Judge:

         According to parties’ December 23 joint status report, discovery is complete in this action, and

the parties await a settlement conference before Magistrate Judge Parker in February 2021. See Dkt. 49.

In light of the ensuing settlement conference, the post-discovery conference, currently scheduled for

January 8, 2021, is hereby adjourned sine die. The parties are instructed to submit a joint status letter no

later than one week after the close of the settlement conference. If settlement is unsuccessful, the Court

will reschedule the post-discovery conference at that time.

SO ORDERED.

Dated:      December 30, 2020
            New York, New York

                                                   RONNIE ABRAMS
                                                   United States District Judge
